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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

United States of America

     v.                                      2:05-cr-152-15

Kevin R. Ruth

                                     ORDER
     On February 16, 2006, the defendant appeared before the
magistrate judge, and consented to enter a guilty plea before the
magistrate judge.      The defendant pleaded guilty to Count 1 of the
indictment.     On that date, the magistrate judge filed a Report and
Recommendation recommending that the defendant’s plea of guilty be
accepted.    There being no objections, the court hereby adopts the
Report and Recommendation of the magistrate judge (Doc. No. 174)
that the defendant’s plea be accepted.               The court accepts the
defendant’s plea of guilty to Count 1 of the indictment, and he is
hereby adjudged guilty on that count.                 The court will defer
acceptance of the plea agreement until after the court has had the
opportunity to review the final presentence investigation report.


Date: March 29, 2006                    s\James L. Graham
                                  James L. Graham
                                  United States District Judge
